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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :        Case No. 22-cr-290 (APM)
                                              :
KELLYE SORELLE,                               :
                                              :
                       Defendant.             :



           GOVERNMENT’S NOTICE OF ADOPTING MOTIONS IN LIMINE
                   FILED IN RELATED/JOINED MATTER

       Defendant Kellye SoRelle stands charged with participating in a plot to stop, hinder, or

delay the Certification of the Electoral College vote on January 6, 2021, and with encouraging her

co-conspirators to destroy evidence of their participation in this crime. Her case has been joined

for trial with that of two defendants in related Case No. 21-cr-28: Donovan Crowl and James

Beeks. Trial is scheduled to begin on July 10, 2023.

       The United States hereby provides notice that it adopts the motions in limine filed in Case

No. 21-cr-28, see ECF No. 778, with respect to Defendant SoRelle.      For the reasons stated in that

prior filing, the United States respectfully requests that this Court preclude improper argument or

evidence concerning: (1) a public-authority or entrapment-by-estoppel defense; (2) any defense

based on the actions or inaction of law enforcement; (3) any defense based on the actions of other

rioters or the status, disposition, and pendency of their cases or charges; (4) and any defense based

on diminished mental or physical capacity; and (5) cross-examination of any witness with the

Secret Service.
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                           Respectfully submitted,

                           MATTHEW M. GRAVES
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